Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 1 of 26 Page ID #:6046



                 DISTRICT COURT CASE NO. 2:17-CV-04157-RGK

                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                              JENNIFER MORGAN

                           Appellant and Cross-Appellee,

                                        v.

                        HEIDE KURTZ, PLAN TRUSTEE

                           Appellee and Cross-Appellant.



                On Appeal from the United States Bankruptcy Court
                       for the Central District of California
            The Honorable Barry Russell, United States Bankruptcy Judge


            REPLY BRIEF OF APPELLEE AND CROSS-APPELLANT


                        SMILEY WANG-EKVALL, LLP
      Lei Lei Wang Ekvall, State Bar No. 163047 lekvall@swelawfirm.com
     Kyra E. Andrassy, State Bar No. 207959 kandrassy@swelawfirm.com
    Robert S. Marticello, State Bar No. 244256 rmarticello@swelawfirm.com
                       3200 Park Center Drive, Suite 250
                          Costa Mesa, California 92626
                            Telephone: 714 445-1000
                            Facsimile: 714 445-1002
     Attorneys for Appellee and Cross-Appellant, Heide Kurtz, Plan Trustee




2727368.1
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 2 of 26 Page ID #:6047




                                           TABLE OF CONTENTS

                                                                                                                   Page


I.          INTRODUCTION ........................................................................................... 1
II.         BANKRUPTCY COURT JURISDICTION ................................................... 1
III.        THE PLAN TRUSTEE HAD PROPER STANDING TO PURSUE
            CLAIMS AGAINST MORGAN ..................................................................... 4
IV.         THE TRUSTEE DID NOT FABRICATE OR FALSIFY
            DOCUMENTS ................................................................................................ 5
V.          THE TRUSTEE'S OPENING BRIEF CONTAINED A PROPER
            DISCUSSION REGARDING THE STANDARD OF REVIEW................... 6
VI.         MORGAN'S REQUEST TO STRIKE NUMEROUS EXHIBITS IS
            WITHOUT JUSTIFICATION AND SHOULD BE DENIED ....................... 7
VII. THE BANKRUPTCY COURT DID NOT ERR IN FINDING THAT
     MORGAN HAD NO ENFORCEABLE CONTRACT, AS ARGUED
     BY KURTZ IN HER TRIAL BRIEF AND PROPERLY
     DETERMINED BY THE BANKRUPTCY COURT ..................................... 9
VIII. WHETHER MORGAN RETURNED $20,000 TO THE ESTATE IS
      NOT RELEVANT TO THE ISSUE OF WHETHER THE
      BANKRUPTCY COURT APPLIED THE CORRECT LAW IN
      CALCULATING DAMAGES ...................................................................... 12
IX.         THE BANKRUPTCY COURT CORRECTLY FOUND THAT
            MORGAN CONVERTED $6,400 OF FUNDS BELONGING TO
            THE ESTATE BASED ON HER OWN TESTIMONY ............................... 12
X.          THE BANKRUPTCY COURT CORRECTLY FOUND THAT
            MORGAN BREACHED HER FIDUCIARY DUTY BUT ERRED IN
            CALCULATING DAMAGES BECAUSE IT APPLIED THE
            WRONG LAW .............................................................................................. 14
XI.         THE BANKRUPTCY COURT SHOULD BE INSTRUCTED TO
            RECALCULATE DAMAGES, TAKING INTO CONSIDERATION
            THE AMOUNT OF HARM CAUSED BY THE BREACHES OF
            FIDUCIARY DUTY AND NOT THE AMOUNT RECEIVED BY
            MORGAN...................................................................................................... 15
XII. THE TRUSTEE REQUESTED PRE-JUDGMENT INTEREST AT


2727368.1                                                     i
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 3 of 26 Page ID #:6048



            THE TRIAL COURT LEVEL AND IT IS NOT WAIVED ......................... 17
XIII. THE TRUSTEE DID OBTAIN THE BANKRUPTCY COURT'S
      AUTHORIZATION TO EMPLOY THE FIRM TO REPRESENT
      HER IN THE UNDERLYING LITIGATION AS WELL AS OTHER
      MATTERS ARISING FROM THE UNDERLYING BANKRUPTCY
      CASE ............................................................................................................. 17
XIV. CONCLUSION.............................................................................................. 17
CERTIFICATE OF COMPLIANCE ....................................................................... 20




2727368.1                                                   ii
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 4 of 26 Page ID #:6049




                                      TABLE OF AUTHORITIES

                                                                                                                   Page

CASES
In re Retz,
       606 F.3d 1189, 1196 (9th Cir. 2010) ..............................................................11
U.S. v. Hinkson,
        585 F.3d 1247, 1261-62 & n. 21 (9th Cir. 2009)...........................................11
Wellness Int'l Network, Ltd v. Sharif,
      135 S.Ct. 1932 (2015)......................................................................................2

STATUTES
11 U.S.C. § 105 ..........................................................................................................2
11 U.S.C. § 323 ..........................................................................................................2
11 U.S.C. § 502 ..........................................................................................................2
11 U.S.C. § 541(a) .....................................................................................................2
11 U.S.C. § 542 ..........................................................................................................2
11 U.S.C. § 544 ..........................................................................................................2
11 U.S.C. § 548 ..........................................................................................................2
11 U.S.C. § 549 ..........................................................................................................2
11 U.S.C. § 550 ..........................................................................................................2
11 U.S.C. § 551 ..........................................................................................................2
11 U.S.C.§ 1107 .......................................................................................................13
11 U.S.C.§ 363 .........................................................................................................13
11 U.S.C.§ 363(b) ............................................................................................. 13, 14
28 U.S.C. § 1334 ........................................................................................................2
28 U.S.C. § 151 ..........................................................................................................2
28 U.S.C. § 157 ..........................................................................................................2




2727368.1                                                   iii
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 5 of 26 Page ID #:6050



RULES
Fed. R. App. Proc. 28 .................................................................................................8
Fed. R. App. Proc. 28(e) ............................................................................................8
Fed. R. Bankr. Proc. 8014 ..........................................................................................7
Fed. R. Bankr. Proc. 8014(a)(8) .................................................................................7
Local Bankruptcy Rule 2014-1 ......................................................................... 13, 14
Local Bankruptcy Rule 2014-1(a)(1) .......................................................................13




2727368.1                                                 iv
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 6 of 26 Page ID #:6051




                                 I.      INTRODUCTION

            Morgan makes several specious arguments in her brief, all of which should

be rejected. She contends that the bankruptcy court lacked jurisdiction, when it is

undisputed that she did not contest it at trial and had expressly, knowingly, and

voluntarily consented to the bankruptcy court's jurisdiction. Morgan has presented

no sound legal argument to support her contention that the bankruptcy court erred

in rejecting her lack of standing argument. Morgan attributes various misdeeds to

the Trustee, none of which is substantiated or true. Morgan's own brief illustrates

the Trustee's argument that the bankruptcy court erred as a matter of law in its

analysis of damages and that it is clear that the bankruptcy court's judgment should

be reversed and remanded with instructions to the bankruptcy court to analyze

damages from the Club's1 perspective, which should include the amount necessary

for the Club to repay the unauthorized Scapa Loan, and not from the perspective of

the amount paid to and received by Morgan.



                    II.    BANKRUPTCY COURT JURISDICTION

            There is no validity to Morgan's arguments that the bankruptcy court lacked

jurisdiction or that the Trustee has waived her arguments in response. In fact, it is


    1
       Capitalized terms not defined herein shall have the definition ascribed in the Trustee's
opening brief.

2727368.1                                      -1-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 7 of 26 Page ID #:6052



Morgan who expressly consented to the bankruptcy court's jurisdiction, failed to

raise it at trial, and failed to raise it in this appeal as an issue on appeal.

            First, as set forth in the amended complaint filed by Heide Kurtz, the former

chapter 11 trustee and presently the Plan Trustee (the "Trustee"), the bankruptcy

court had jurisdiction over the underlying adversary proceeding pursuant to 28

U.S.C. §§ 151, 157 and 1334 and 11 U.S.C. §§ 105, 323, 502, 541(a), 542, 544,

548, 549, 550 and 551. (First Amended Complaint, Appellant's App., Exh. 1, at p.

3, ¶ 1). In addition, a bankruptcy court's authority and jurisdiction also exist when

there is knowing and voluntary consent by the parties. See Wellness Int'l Network,

Ltd v. Sharif, 135 S.Ct. 1932 (2015) (holding that the bankruptcy court can

exercise authority and jurisdiction over Stern claims if the parties consent and that

such consent need not be express but must be knowing and voluntary). In this

case, Morgan expressly, knowingly and voluntarily consented to the jurisdiction of

the bankruptcy by signing the following written statement, "I [x] do [ ] do not

consent to the bankruptcy court's entry of a final judgment and/or order in this

adversary proceeding. I waive my rights to a jury trial." (Joint Status Report,

Appellee's ER2, Tab 77 at p. 4211). Here, with Morgan's express consent, there is

no question that the bankruptcy court had proper jurisdiction over core claims,

non-core claims, Stern claims, or otherwise.


    2
        Appellant's Excerpts of Record

2727368.1                                     -2-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 8 of 26 Page ID #:6053



            Morgan's argument that the Trustee should be prevented from addressing

this issue in her reply brief is without basis. First, although the joint status report

was not admitted as an exhibit at trial, it was part of the Bankruptcy Court's record

and was included in the Trustee's designation of the record on appeal. Second,

Morgan never objected to the bankruptcy court's jurisdiction at trial, presumably

because she had expressly, knowingly, and voluntarily consented to it. (Morgan's

Trial Declaration, Appellee's ER, Tab 14; Morgan's Trial Brief, Appellee's ER, Tab

78; Morgan's Post-Trial Brief, Appellee's ER, Tab 79). Third, there is only a one

sentence statement in Morgan's opening brief questioning the bankruptcy court's

jurisdiction. Morgan failed to include this issue in her statement of issues on

appeal. (Appellee's ER, Tab 80). The first time the issue has been substantively

addressed by Morgan is in her response brief. Cleary, it is Morgan who has

waived her rights to contest to the bankruptcy court's jurisdiction, by expressly

consenting to it, by not raising it at trial, and by not including it as an issue on

appeal. To argue that the Trustee cannot respond would be unfounded and unfairly

prejudicial, particularly when Morgan waived this issue long ago and the

bankruptcy court's record is clear that she expressly, knowingly, and willingly

consented to jurisdiction of the bankruptcy court.




2727368.1                                   -3-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 9 of 26 Page ID #:6054




    III.       THE PLAN TRUSTEE HAD PROPER STANDING TO PURSUE

                                 CLAIMS AGAINST MORGAN

            Morgan argues that the Trustee did not have standing to bring the action

against her and therefore the bankruptcy court erred in awarding a judgment in

favor of the Trustee. This argument is nonsense and was considered and correctly

rejected by the bankruptcy court. (May 17 Trial Transcript, Tab 72 at p. 3693, ll.

13-24). Thus, clearly, the Trustee did not waive the issue of standing.

            The Trustee was appointed as the chapter 11 trustee and, once her chapter 11

plan (the "Plan") was confirmed, became the plan trustee. See Order Confirming

Chapter 11 Trustee's Chapter 11 Plan of Reorganization (Dated April 8, 2014) [As

Amended by Docket No. 442 Filed on July 2, 2014], as Modified by this Court

Order at 74, attached to the Appellee's ER as Tab 3. The confirmed Plan and the

order approving it appointed the Trustee as the "plan trustee" and Section III.F.4.

of the Plan specifically vested the Trustee with standing to continue the litigation

against Morgan and Shelton. See Trustee's Chapter 11 Plan of Reorganization

(Dated April 8, 2014) attached as Appellee's ER, Tab 4 at p. 107. Section III.F.8.

of the Plan also explicitly provided that the plan trustee would serve as the

successor to the chapter 11 trustee for all purposes. See Plan at p. 109.

Accordingly, there is no question that the bankruptcy court correctly determined

that the Trustee, at all times, had standing to prosecute the underlying litigation.



2727368.1                                    -4-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 10 of 26 Page ID #:6055




 IV.         THE TRUSTEE DID NOT FABRICATE OR FALSIFY DOCUMENTS

             As with Ms. Shelton's similar allegation in the related appeal, Morgan's

 accusation that the Trustee fabricated or falsified documents is baseless. Morgan

 complains of three documents: the Trustee's appointment order, the plan of

 reorganization, and the order confirming the plan of reorganization. The Trustee

 requested that the bankruptcy court take judicial notice of the Plan of

 Reorganization and the Plan Confirmation Order on March 31, 2017. (Post-trial

 Brief, Appellee's ER, Tab 81 at pp. 4285, 4301). The Trustee provided authority to

 the bankruptcy court that it may take judicial notice at any stage of the proceeding.

 (Tab 81 at pp. 4285, 4301). The bankruptcy court did just that when during the

 post-trial hearing on May 17, 2017, it stated, "… the one thing that judicial notice

 is appropriate … clearly, under then [sic] plan, clearly the Trustee has standing."

 (Appellee's ER, Tab 72 at p. 3693).

             The Trustee's appointment order, although it was designated by the Trustee,

 was not relied upon by the Trustee in her opening brief.

             Morgan also complains that the 341(a) transcript was never admitted into

 evidence, when, in fact, it was. After ruling it would not take judicial notice of the

 341(a) transcripts, the bankruptcy court proceeded to say, "If you have the

 [certified] transcripts and so forth, that's a different matter." (February 15th Trial

 Transcript, Appellee's ER, Tab 33, pp. 1654-1655). The bankruptcy court later



 2727368.1                                     -5-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 11 of 26 Page ID #:6056



 confirmed that the certified transcripts were admitted as testimony of the

 defendants. (Appellee's ER, Tab 33, pp. 1812-1813).



      V.        THE TRUSTEE'S OPENING BRIEF CONTAINED A PROPER

                 DISCUSSION REGARDING THE STANDARD OF REVIEW

             Morgan mischaracterizes the Trustee's statement of the various standards of

 review applicable to this case, insinuating that the Trustee's brief contained no

 specificity at all. However, it is clear from the opening brief which standard of

 review apply to the various issues raised by the Trustee in her brief. To the extent

 that the brief addresses Morgan's contentions that the Court erred in finding that

 she had breached her fiduciary duty, that would be a finding of fact reviewed for

 clear error, as conceded by Morgan in her opening brief. To the extent that the

 bankruptcy court applied the wrong law on damages when calculating the damages

 for Morgan's breach, then that determination is a legal one and should be reviewed

 de novo, as explained in the standard of review section of the Trustee's brief.

 Similarly, the Trustee plainly explained that the issue of whether federal or state

 law on post-judgment interest applies is reviewed de novo. With respect to the

 issue of the whether the bankruptcy court erred in striking the declaration of the

 Trustee's expert and precluding his testimony at trial, the Trustee's brief plainly

 stated that the ruling is reviewed for an abuse of discretion.



 2727368.1                                    -6-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 12 of 26 Page ID #:6057



             The Trustee's brief fulfilled the requirements regarding the standard of

 review and any argument to the contrary is without merit.



     VI.       MORGAN'S REQUEST TO STRIKE NUMEROUS EXHIBITS IS

                   WITHOUT JUSTIFICATION AND SHOULD BE DENIED

             In her brief, Morgan asks this Court to strike a number of exhibits, arguing

 that the Trustee has not established through citations to the record that the exhibits

 were actually admitted into evidence. However, as the Trustee explained in her

 reply brief filed in connection with the Shelton appeal, this is not the standard.

 Federal Rule of Bankruptcy Procedure 8014, which governs appellate briefs in

 bankruptcy appeals, requires that the brief contain "citations to the authorities and

 parts of the record on which appellant relies." Fed. R. Bankr. Proc. 8014(a)(8).

 Where an appellant intends to argue on appeal that a finding or conclusion is

 unsupported by the evidence or is contrary to the evidence, the appellant must

 include in the record a transcript of all relevant testimony and copies of all relevant

 exhibits. The Trustee fully complied with these rules. The Trustee did not

 anticipate an argument on appeal contesting the admission of the trial exhibits.

 Exhibits that were attached to declarations were not formally admitted by the

 bankruptcy court until each witness was done testifying. Citing to each location in

 the transcript where an exhibit was actually admitted would be cumbersome for



 2727368.1                                     -7-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 13 of 26 Page ID #:6058



 both the Trustee and for this Court. Further, the Trustee has found no authority for

 Ms. Morgan's argument. Indeed, the rules that govern appeals to the Ninth Circuit

 seem to indicate that the Trustee should not be required to take the extra step of

 including a citation to the transcript where each exhibit cited to or relied on in the

 brief was actually admitted by the bankruptcy court. Federal Rule of Appellate

 Procedure 28 requires appropriate references to the record under Rule 28(e) which,

 in turn, provides that "[a] party referring to evidence whose admissibility is in

 controversy must cite the pages of the appendix or of the transcript at which the

 evidence was identified, offered, and received or rejected." Fed. R. App. Proc.

 28(e).

             Here, the Trustee had no reason to believe that Morgan would question

 whether the trial exhibits on which the Trustee relies were admitted or not. In fact,

 setting aside the issue with three particular exhibits, Morgan does not actually

 argue that the remainder of the trial exhibits were not admitted by the bankruptcy

 court. Instead, she faults the Trustee for not pointing to the portions of the trial

 transcripts that would reflect that they were admitted. That is not the standard, and

 Morgan's request that the trial exhibits cited by the Trustee in her brief and

 included in the excerpts of record should be stricken should be denied.




 2727368.1                                   -8-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 14 of 26 Page ID #:6059




    VII. THE BANKRUPTCY COURT DID NOT ERR IN FINDING THAT

             MORGAN HAD NO ENFORCEABLE CONTRACT, AS ARGUED BY

              KURTZ IN HER TRIAL BRIEF AND PROPERLY DETERMINED

                                BY THE BANKRUPTCY COURT

             The bankruptcy court considered the credibility of evidence submitted by the

 various parties to conclude that Morgan had no enforceable contract. Various

 meeting minutes as well as testimony offered by multiple board members were

 offered on the subject. Specifically, multiple board members testified that they did

 not vote to approve giving Morgan a contract or a deed of trust. Board member

 Herring stated,

                   Q.     Did you ever vote to approve the board giving
                   Jennifer Morgan a note – promissory note in the amount
                   of a hundred thousand dollars?
                   A.     No, don't recall that.
                   Q.     Did you ever vote to approve the board giving
                   Jennifer Morgan a deed of trust to secure a hundred-
                   thousand-dollar note in the amount of –
                   A.     Don't recall that.
                   …
                   Q.     Did you ever vote to approve Jennifer Morgan's
                   salary?
                   A.     Don't recall that.

 (Appellee's ER, Tab 32, pp. 1537-1538). Board member Duncan stated, "I deny

 that I voted to approve giving Jennifer Morgan an employment contract or to pay

 her a salary greater than $800.00 per week… I deny that I voted to approve giving

 Jennifer Morgan a promissory note and deed of trust in the amount of $100,000 for


 2727368.1                                    -9-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 15 of 26 Page ID #:6060



 back pay or for any other purpose." (Appellee's ER, Tab 34, p. 1844). Board

 member Genovese stated, "I did not sign an employment contract for Morgan and I

 do not recall ever seeing an employment contract. I did not, and the Board did not,

 vote to give Morgan a security interest against the Club's property…" (Appellee's

 ER, Tab 16, p. 750). Their trial testimony corroborated their trial declarations,

 which were admitted into evidence. (February 15th Trial Transcript, Tab 33, p.

 1756, ll. 2-11, p. 1758, l. 25 – p. 1759, l. 8; February 16th Trial Transcript, Tab 47,

 p. 2327, ll. 12-15, p. 2328, ll. 10-12, p. 2372, ll. 3-5). Board members Wallace and

 Van Tassell provided no testimony on these issues (Wallace's Trial Declaration,

 Appellee's ER, Tab 46). Morgan and Shelton admitted they did not vote on the

 issue because of conflict. (Morgan's Deposition Testimony, Appellee's ER, Tab

 43, pp. 2000-2001; Shelton's Deposition Testimony, Appellee's ER, Tab 44, p.

 2145, ll. 12-20). Thus, the majority of disinterested board members (three out of

 five) testified under oath that they did not approve Morgan' contract or the deed of

 trust against the Property. The bankruptcy court had an opportunity to gauge the

 board members' veracity when they were cross-examined at trial.

             After considering the veracity of the difference sources of information, the

 bankruptcy court determined that there was no enforceable contract. The

 bankruptcy court stated at the hearing on May 17, 2017, "… the one thing that the

 testimony is clear, that – for me anyway, that there was no board approval of the



 2727368.1                                    -10-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 16 of 26 Page ID #:6061



 contract" (Tab 72, p. 3712).

             When factual findings are based on determinations regarding the credibility

 of witnesses, great deference is given to the bankruptcy court's findings, because

 the bankruptcy court as the trial of fact, had the opportunity to note variations in

 demeanor and tone of voice that bear so heavily on the listener's understanding of

 and belief in what is said. In re Retz, 606 F.3d 1189, 1196 (9th Cir. 2010) (citing

 U.S. v. Hinkson, 585 F.3d 1247, 1261-62 & n. 21 (9th Cir. 2009).

             Here, the bankruptcy court believed the credibility of the witnesses in

 determining that Morgan had no enforceable contract. This factual determination

 should be given great deference and upheld.

             As addressed in Section IX.A.2. of the Trustee's opening brief filed on

 October 13, 2017, there is no validity to Morgan's argument that the Trustee's

 unverified complaint filed on information and belief and exhibits that were

 attached but not authenticated as true and correct constitute judicial admission.

 The bankruptcy court correctly rejected Morgan's judicial admission argument at

 trial and its determination was not clear error.




 2727368.1                                    -11-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 17 of 26 Page ID #:6062




    VIII. WHETHER MORGAN RETURNED $20,000 TO THE ESTATE IS

                    NOT RELEVANT TO THE ISSUE OF WHETHER THE

                 BANKRUPTCY COURT APPLIED THE CORRECT LAW IN

                                   CALCULATING DAMAGES

             The bankruptcy court looked at the amount Morgan received to determine

 damages for Morgan's breach of fiduciary duties to the Club. As set forth in

 section IX.B. of the Trustee's brief, the bankruptcy court erred as a matter of law in

 analyzing damages by calculating how much Morgan received rather than the harm

 Morgan's actions caused to the Club.

             Whether Morgan returned a portion of her ill-gotten gains or not is irrelevant

 to the injury the Club suffered by Morgan causing the Club to incur the Scapa

 Loan without any board authorization, a loan that the Club could not afford and

 that led the Club to seek bankruptcy protection in the underlying bankruptcy case.



        IX.       THE BANKRUPTCY COURT CORRECTLY FOUND THAT

              MORGAN CONVERTED $6,400 OF FUNDS BELONGING TO THE

                         ESTATE BASED ON HER OWN TESTIMONY

             The bankruptcy court did not err in concluding that Morgan converted

 $6,400 of rent money that belonged to the Club. It is undisputed that the rent

 money was the Club's property and an asset of the Club's estate. It is undisputed



 2727368.1                                    -12-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 18 of 26 Page ID #:6063



 that Morgan took the money after the Club filed its bankruptcy case.

             Morgan relies upon section 1107 of the Bankruptcy Code to support her

 position. However, section 1107 cannot be read in isolation. While a debtor-in-

 possession does have the rights and power and duties of a trustee, such rights are

 not unfettered. The Bankruptcy Code and Bankruptcy Rules impose various limits

 on trustees (and therefore, debtors-in-possession), including section 363 of the

 Bankruptcy Code, which states, "[t]he trustee, after notice and a hearing, may use,

 sell, or lease, other than in the ordinary course of business, property of the estate."

 11 U.S.C.§363(b). Here, it is undisputed that Morgan took the rent payment

 without any notice, hearing, or court order. Moreover, Local Bankruptcy Rule

 2014-1 provides that "[n]o compensation or other remuneration may be paid from

 assets of the estate to a debtor's owners, partners, officers, directors, shareholder, or

 relatives of insiders … from the time of the filing of the petition until the

 confirmation of the a plan nor may approved compensation be increased unless the

 debtor serves a Notice of Setting/Increasing Insider Compensation ("Notice") in

 accordance with the procedures adopted by the United States trustee pursuant to

 this rule." Local Bankruptcy Rule 2014-1(a)(1). Again, it is undisputed that

 neither the Club nor Morgan served such a notice before Morgan took the rent

 money.

             Having failed to give proper notice under either Local Bankruptcy Rule


 2727368.1                                   -13-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 19 of 26 Page ID #:6064



 2014-1 or section 363(b) of the Bankruptcy Code, the bankruptcy court did not err

 in concluding that Morgan's exercise of dominion over the rent payment of $6,400

 belonging to the Club and the Club's bankruptcy estate was wrongful and the

 resulting damages for conversion was $6,400.



        X.       THE BANKRUPTCY COURT CORRECTLY FOUND THAT

              MORGAN BREACHED HER FIDUCIARY DUTY BUT ERRED IN

             CALCULATING DAMAGES BECAUSE IT APPLIED THE WRONG

                                               LAW

             Morgan makes much of the Trustee's statement of issues, which attempted to

 clearly identify the issues being responded to in connection with Morgan's appeal

 and those being raised by the Trustee in her cross-appeal. Given that Morgan's

 appeal challenged the bankruptcy court's conclusion that she breached her

 fiduciary duty, the first issue being address in the Trustee's opening brief was

 whether, in fact, it erred. The Trustee believes that the bankruptcy court did not err

 in that regard, as is evident from a reading of the Trustee's brief.

             The Trustee has not misstated the bankruptcy court's findings. Although the

 transcript is not a model of clarify, it is apparent from a reading of the transcript

 that the bankruptcy court found that there was no board approval of any

 employment contract for Morgan and no board approval of the Scapa Loan that led



 2727368.1                                   -14-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 20 of 26 Page ID #:6065



 to its finding of breach. (Appellee's ER 72, pp. 3712, 3718). Specifically the

 bankruptcy court found as follows: "But as far as, as far as the loan, that's – the

 Scapa loan, that I am satisfied that at the end of the day there wasn't the board

 approval. . . . But I still think that as far as the board, there was a need but not for

 that amount, not at that time." (Appellee's ER 72, Transcript (May 17, 2017) at

 3708, 3710). The reason that the bankruptcy court focused on the amounts actually

 paid to Morgan, rather than the amount of the Scapa Loan is because the

 bankruptcy court misapplied the law on damages, focusing on what the defendant

 received and not on the harm that she caused. Once the bankruptcy court utilized

 the incorrect damages standard, as a matter of law, it the proceeded to make

 similarly erroneous findings.



      XI.       THE BANKRUPTCY COURT SHOULD BE INSTRUCTED TO

              RECALCULATE DAMAGES, TAKING INTO CONSIDERATION

                THE AMOUNT OF HARM CAUSED BY THE BREACHES OF

                FIDUCIARY DUTY AND NOT THE AMOUNT RECEIVED BY

                                            MORGAN

             The Trustee has not abandoned or changed her theory of damages resulting

 from the breaches of fiduciary duty that occurred in this case. Instead, in her

 opening brief, the Trustee suggests that on remand, the bankruptcy court should



 2727368.1                                  -15-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 21 of 26 Page ID #:6066



 enter a judgment in the amount of harm caused, and not on what was received. If it

 does that, it will conclude that the damages are at least equal to the amount of the

 Scapa Loan that will need to be paid as a result of the Club's confirmed plan. The

 damages from the Scapa Loan was also a part of the calculation of damages

 included in the trial testimony of Mr. Don T. Fife, CPA, which the Trustee

 contends the bankruptcy court erred in striking. It is not moot as had it been

 admitted and considered, it could have prevented the bankruptcy court from

 committing the clear errors that occurred.

             There was ample evidence at trial that the unapproved Scapa Loan caused

 the Club to file the underlying bankruptcy case. For example, at the meeting of

 creditors, Morgan testified under oath that the Scapa had a foreclosure sale set and

 the bankruptcy was filed to stay the foreclosure sale. (Appellee's ER, Tab 60, p.

 3022-3023). The bankruptcy court, when it erred in applying the wrong standard

 for damages, looked only at what Morgan received, and not the harm the Club

 suffered from the unauthorized Scapa Loan. As a result, there were a number of

 factual errors that occurred once the bankruptcy court focus was misdirected. This

 erroneous application of damages law and the subsequent errors resulting from it is

 the crux of Trustee's cross-appeal.




 2727368.1                                  -16-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 22 of 26 Page ID #:6067




     XII. THE TRUSTEE REQUESTED PRE-JUDGMENT INTEREST AT

                    THE TRIAL COURT LEVEL AND IT IS NOT WAIVED

             The Trustee requested pre-judgment interest before and at trial, contrary to

 Morgan's contention. (First Amended Complaint, Appellant's App., Exh. 1, at p.

 49, ll. 6-7; Trustee's Trial Brief, Tab 82, at p. 4346, l. 22 and p. 4359, l. 20;

 Trustee's Post-Trial Brief, Tab 81, pp. 4314- 4315). It has not been waived nor is

 it being raised for the first time on appeal.



       XIII. THE TRUSTEE DID OBTAIN THE BANKRUPTCY COURT'S

             AUTHORIZATION TO EMPLOY THE FIRM TO REPRESENT HER

                 IN THE UNDERLYING LITIGATION AS WELL AS OTHER

              MATTERS ARISING FROM THE UNDERLYING BANKRUPTCY

                                                 CASE

             Morgan contends that the Trustee's briefs should be stricken because she did

 not obtain the bankruptcy court's authority to retain her counsel. This is untrue.

 Attached to the Appellant's Excerpts of Record as Tab 83 is a copy of the

 bankruptcy court's order authorizing the Trustee's retention of her counsel of

 record.



                                     XIV. CONCLUSION

             The crux of the Trustee's cross-appeal is the bankruptcy court's legal error in

 2727368.1                                     -17-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 23 of 26 Page ID #:6068



 applying the incorrect damages standard. Specifically, the bankruptcy court

 viewed damages from the perspective of how much Morgan received, rather than

 quantifying the harm suffered by the Club. This erroneous application of the law,

 which is to be reviewed de novo, led to a series of other factual errors that should

 be corrected on remand if the bankruptcy court were to apply the proper damages

 inquiry. Contrary to Morgan's contention, however, the Trustee has not changed or

 abandoned any of her damages theories. In order to illustrate the error committed

 by the bankruptcy court, the Trustee has simply tried to provide examples of what

 the damages should have been had the bankruptcy court quantified harm from the

 Club's perspective and not from the amounts received by Morgan.

             Morgan makes a number of other arguments which are false, unfounded or

 misleading, in an effort to obscure the real issue, the quantification of damages to

 the Club as a result of Morgan causing the Club to obtain the Scapa Loan, which

 she knew the Club did not authorize and could not repay, for the benefit of herself

 and other insiders. The bankruptcy court erred on its application of damages and

 its judgment should be reversed and remanded to quantify damages from the




 2727368.1                                  -18-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 24 of 26 Page ID #:6069



 perspective of the Club, and not by the amount received by Morgan.



             RESPECTFULLY SUBMITTED this 22nd day of November, 2017.



                                   /s/ Lei Lei Wang Ekvall
                                   SMILEY WANG-EKVALL, LLP
                                   Lei Lei Wang Ekvall, State Bar No. 163047
                                   Kyra E. Andrassy, State Bar No. 207959
                                   Robert S. Marticello, State Bar No. 244256
                                   3200 Park Center Drive, Suite 250
                                   Costa Mesa, California 92626
                                   Telephone: 714 445-1000
                                   Facsimile: 714 445-1002
                                   Email: lekvall@swelawfirm.com
                                            kandrassy@swelawfirm.com
                                            rmarticello@swelawfirm.com
                                   Attorneys for Appellant, Heide Kurtz. Plan
                                   Trustee




 2727368.1                              -19-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 25 of 26 Page ID #:6070




                             CERTIFICATE OF COMPLIANCE
                      (Federal Rule of Bankruptcy Procedure 8015(a)(7))


             I, Lei Lei Wang Ekvall, certify that:

             Pursuant to Federal Rule of Bankruptcy Procedure 8015(a)(7), the foregoing

 brief, including the tables, contains 4,735 words, according to the word count

 performed by Microsoft Word, and therefore, it meets the requirements of Rule

 8016(d)(2)(C).

             RESPECTFULLY SUBMITTED this 22nd day of November, 2017.



                                         /s/ Lei Lei Wang Ekvall
                                         SMILEY WANG-EKVALL, LLP
                                         Lei Lei Wang Ekvall, State Bar No. 163047
                                         Kyra E. Andrassy, State Bar No. 207959
                                         Robert S. Marticello, State Bar No. 244256
                                         3200 Park Center Drive, Suite 250
                                         Costa Mesa, California 92626
                                         Telephone: 714 445-1000
                                         Facsimile: 714 445-1002
                                         Email: lekvall@swelawfirm.com
                                                  kandrassy@swelawfirm.com
                                                  rmarticello@swelawfirm.com
                                         Attorneys for Appellant, Heide Kurtz. Plan
                                         Trustee




 2727368.1                                     -20-
Case 2:17-cv-04157-RGK Document 37 Filed 11/22/17 Page 26 of 26 Page ID #:6071



                              PROOF OF SERVICE
 STATE OF CALIFORNIA, COUNTY OF ORANGE
        At the time of service, I was over 18 years of age and not a party to this
 action. I am employed in the County of Orange, State of California. My business
 address is 3200 Park Center Drive, Suite 250, Costa Mesa, CA 92626.

        On November 22, 2017, I served true copies of the following document(s)
 described as REPLY BRIEF OF APPELLEE AND CROSS-APPELLANT on
 the interested parties in this action as follows:

        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically
 filed the document(s) with the Clerk of the Court by using the CM/ECF system.
 Participants in the case who are registered CM/ECF users will be served by the
 CM/ECF system. Participants in the case who are not registered CM/ECF users
 will be served by mail or by other means permitted by the court rules.

       I declare under penalty of perjury under the laws of the United States of
 America that the foregoing is true and correct and that I am employed in the office
 of a member of the bar of this Court at whose direction the service was made.

       Executed on November 22, 2017, at Costa Mesa, California.


                                                /s/ Heather Davis
                                           Heather Davis
